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Court News ...


    
	
	
		Interest Rate on Money Decrees and Judgments&nbsp;&nbsp;(01-05-2016)
	
		Amended Business Court Pilot Program&nbsp;&nbsp;(01-01-2016)
	
		Delegation of Authority Business Court&nbsp;&nbsp;(01-01-2016)
	
		Chief Judges for Administrative Purposes of the Summary Courts&nbsp;&nbsp;(01-01-2016)
	
		...more
	
     


  
	  
	    
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